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10
                                IN THE UNITED STATES DISTRICT COURT
11                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,           )
                                         )               No.CR-07-0670 JSW
14                     Plaintiff,        )               [Filed October 24, 2007]
                 v.                      )
15                                       )
                                         )
16   JEANETTE BLAND                      )
                                         )
17                                       )
                       Defendant.        )
18   ___________________________________ )
                                         )
19   UNITED STATES OF AMERICA,           )
                                         )
20                     Plaintiff,        )               No. CR-07-0671 CRB
                                         )               [Filed October 24, 2007]
21               v.                      )
                                         )               NOTICE OF RELATED CASE
22   PATRICE RAVEN                       )               IN A CRIMINAL ACTION and
                                                         [PROPOSED] ORDER
23                                       )
                       Defendant.        )               [San Francisco Venue]
24   ____________________________________)
25          The United States of America, pursuant to Local Criminal Rule 8-1, hereby notifies the
26   Court that the two above-captioned criminal cases are related. These defendants were originally
27   charged in a single indictment in the District of Nebraska. These charges were then transferred
28
     NOTICE OF RELATED CASES
     U.S. v. RAVEN
     U.S. v. BLAND
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1    to the Northern District of California on October 24, 2007 pursuant to F.R.C.P. 20. Based upon
2    these facts, the cases are related within the meaning of Local Rule 8-1(b)(1) because they involve
3    the same occurrences. Furthermore, the cases are related within the meaning of Local Rule 8-
4    1(b)(2) because if heard by separate judges they likely would involve substantial duplication of
5    labor by the two judges.
6           Per the requirement of Local Criminal Rule 8-1(c)(4), government counsel states that
7    assignment of these cases to a single judge is likely to conserve judicial resources and promote an
8    efficient determination of each action.
9
10   Date: October 26, 2007                               Respectfully Submitted,
                                                          SCOTT N. SCHOOLS
11
12
                                                                      /s/
13                                                        ALLISON MARSTON DANNER
                                                          Assistant United States Attorney
14
15
16                                        [PROPOSED] ORDER
17          Based upon the notice of the government and pursuant to Local Criminal Rule 8-1, this
18   Court finds that the cases United States v. Bland CR 07-0670 JSW and United States v. Patrice
19   CR 07 0671 CRB are related within the meaning of Local Criminal Rule 8-1(b). IT IS HEREBY
20   ORDERED that the Clerk of the Court relate these cases and reassign CR 07-0671 to this Court.
21
22          November 5, 2007
     DATED: ____________________                          ______________________________
23                                                        JEFFREY S. WHITE
24                                                        United States District Court

25
26
27
28 NOTICE OF RELATED CASES
   and PROPOSED ORDER
   U.S. v. RAVEN
   U.S. v. BLAND                                     2
